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                                                                  Pettir A. Moore, Jr., Clerk
                                                                  US District Court
                                                                  Eastsrn District of NC
                       UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF NORTH CAROLINA
                              SOUTHERN DIVISION

                                NO.7:20-CR-167-1M2
                                NO.7:20-CR-167-2M2
                                NO.7:20-CR-167-3M2
                                NO. 7:20-CR-167-4M2

UNITED STATES OF AMERICA                     )
                                             )
              v.                             )     INDICTMENT
                                             )       Superseding
LIAM MONTGOMERY COLLINS                      )
   afk/a "Disciple;"                         )
PAUL JAMES KRYSCUK                           )
   a/k/a "Deacon;"                           )
JORDAN DUNCAN                                )
   a/k/a "Soldier;"                          )
JUSTIN WADE HERMANSON                        )
   a/k/a "Sandman"                           )



      The Grand Jury charges:

                                INTRODUCTION

      1.    From approximately March of 2011 - November of 2017, Iron March was

an onlin~ message board platform used for communications and posts by neo-Nazi

and White Supremacy Extremist (WSE) groups and those advocating WSE ideologies.

      2. Beginning as early as 2016 and continuing into 2017, Defendant LIAM

MONTGOMERY COLLINS, also known as "Disciple," used the name "Niezgoda," and ,

posted frequently on Iron March. · COLLINS was born in_ Sweden but attended high

school in New Jersey, which is where he was living at the time of these posts. In

2017, COLLINS entered the Marines and was stationed at Camp LeJeune, NC, until

                                    Page 1 of 13



           Case 7:20-cr-00167-M Document 16 Filed 11/18/20 Page 1 of 13
his separation from the military in Sept 2020.

       3. Defendant PAUL JAMES KRYSCUK, also known as "DEACON," lived in

New York until early 2020, when he moved to Boise, Idaho. He has utilized the alias

"Pauly Harker" in the past, and currently uses the alias of "Shaun Corcoran" by way

of a false Idaho driver's license and altered bank records. Under the user name

"Visions_from_Patmos," KRYSCUK also frequently posted on Iron March.

       4.    Defendant JORDAN DUNCAN, also known as "Soldier", from North

Carolina, previously served in the Marine Corps from 2013 - 2018, and was assigned

to Camp LeJeune, NC, while on active duty. After separating from the military, he

worked as a contractor for the U.S. Air Force at Lackland Air Force Base (AFB) in
                                               \

San Antonio, and in September 2020, began working as a contractor for the U.S. Navy

in or near Boise, Idaho.

       5.    Defendant JUSTIN WADE HERMANSON, also known as "Sandman",

from North Carolina, joined the U.S. Marines in March of 2017, and is a member of ,

the same unit to which COLLINS was last assigned.

       6.    Using the Iron March platform, COLLINS discussed recruitment for a

. group he described as "a modern day SS" located in the northeastern region of the

United States.      In 2016, COLLINS posted that he was organizing a legitimate

 Paramilitary/ Defense force.   He described it in this way:

       ... everyone [in the group] is going to be required to have served in a
       nation's military, whether US, UK, or Poland .... Its a goal for the long-
       term. I'll be in the USMC for 4 years while my comrades work on the
       groups physical formation . . . .It will take years to gather all the
       experience and intelligence that we need to utilize - but that's what
                                      Page 2 of 13



            Case 7:20-cr-00167-M Document 16 Filed 11/18/20 Page 2 of 13
      makes it fun. It takes a man's willpower and heart to make a
      commitment like this ....

Collins went on to explain that he was giving four years to the Marines "for the cause"

and that most of his revenue goes into equipment for himself and his group.

      7.    In early 2017, COLLINS (user name Niezgoda) communicated via Iron

March with KRYSCUK (user name "Visions_from_Patmos") about COLLINS'

paramilitary group. In February 2017, KRYSCUK set forth the steps necessary to

achieving change in the U.S. in accord with his ideology:

      First order of business is knocking down The System, mounting it and
      smashing it's face until it has been beaten past the point of death ...
      eventually we will have to bring the rifles out and go to work. ...We
      will have to hit the streets and strike as many blows to the remaining
      power structure as we can to keep it on the ropes ... forget the pawns
      and go for the knights, kings, and queens ...

      Second order of business . . . is the seizing of territory and the .
      Balkanization of North America. Buying property in remote areas that
      are already predominantly white and right leaning, networking with
      locals, training, farming, and stockpiling. Essentially we are laying the
      framework for a guerilla organization and a takeover of local
      government and industry.

      Start buying, property now in the types of regions mentioned above. and
      get to work on building your own group. . ...As time goes on in this
      conflict, we will expand our territories and slowly take back the land
      that is rightfully ours. . .. As we build our forces and our numbers, we
      will move into the urban areas and clear them· out. This will be a
      ground war very reminiscent of Iraq as we will essentially be facing an
      insurgent force made up of criminals and gang members.

      8.    In August 2017, COLLINS reported he had a "tightknit crew" of ex-

Military and Security.    COLLINS noted they do hikes, gym sessions, live firing

exercises, and "eventually plan to buy a lot of land."      This crew went camping

                                     Page 3 of13



           Case 7:20-cr-00167-M Document 16 Filed 11/18/20 Page 3 of 13
\
together in the summer of 2017.

      9.     COLLINS and KRYSCUK, in their posts on IronMarch and elsewhere,

encouraged the use of an encrypted messaging application as an alternate means of

comm"4nication outside of the forum, particularly for "serious" discussions.

      10, Defendant JORDAN DUNCAN, also known as "Soldier'', while stationed

at Camp LeJeune, became a member of Collins' crew, and is later photographed with

COLLINS and KRSYCUK in December 2018.

       11.    In January of 2019, an individual known to the grand jury paid

KRYSCUK for a "tool."       That payment was for a 9mm pistol manufactured by

KRYSCUK for this individual.

      12.      In May of 2019, another individual known to the grand jury paid

KRYSCUK for a "build" and a "lower." This money was for KRYSCUK to construct

an assault rifle for the individual.

      13.    In June of 2019, KRYSCUK received payments from the two persons

known to the grand jury in paragraphs 10 and 11, as well as from defendant

DUNCAN, for "legos," a "tool," and a "jig." After receiving these funds, KRYSCUK

then made purchases in approximately the same amount from a company that sells

one of the tools, an AR15 jig, which would assist to manufacture lower receivers into

assault-type rifles. By November 2019, KRYSCUK reported he had "milled an 80,"

and that he had obtained a jig to do AR-l0s.

      14. Defendant PAUL JAMES KRYSCU:K, also known as "DEACON," moved

from New York to Boise, Idaho in or about February 2020. He conversed with the
                                   Page 4 of 13



           Case 7:20-cr-00167-M Document 16 Filed 11/18/20 Page 4 of 13
members of the group about the possibility of converting solvent traps into silencers

in March 2020 1· He also noted that he felt the "final frontier is real life violence;"

that he had been "acquiring ·some serious skills," and that he had become "pretty

lethal."

       15. In July 2020, DUNCAN, KRYSCUK, and two other individuals known to

the grand jury met in Boise, Idaho for what appeared to be live-fire weapons training.

In the two weeks prior to the training, payments were sent by COLLINS and the two

other individuals known to the grand jury to defendant JORDAN DUNCAN, also

known as "Soldier/' while DUNCAN was in San Antonio, TX.           DUNCAN then drove

his vehicle from Texas to Idaho, and was seen offloading boxes, some heavy, at

KRYSCUK's residence the weekend of the live-fire training. The participants in the

training made a compilation video of the live footage from that training, and

distributed it amongst themselves and showed it to others. This video depicts •

KRYSCUK and another individual firing short barrel riflt=:s and each of the

participants firing assault-style rifles.     The end of the video shows the four

participants outfitted in AtomWaffen2 masks giving the "Heil Hitler" sign, beneath



1
  A solvent trap is a device designed to be affixed to the end of the harrel of a firearm,
to capture any solvent that passes through the barrelduring cleaning. Solvent traps
can be easily modified using a drill press to make working silencers, requiring
compliance with the NFA. 26 U.S.C. §§ 5801-5872.
2 Atomwaffen, or Atomwaffen Division, is a neo-Nazi group that emerged in 2015-
                                                             .            \

2016, created by members of Iron March. · Atomwaffen distinguishes itself by its
extreme rhetoric, influenced by the writings of a. neo-Nazi· of an earlier generation,
James Mason, who admired Charles Manson and supported the idea of lone wolf
violence. Atomwaffen me~bers are associated with the wearing of a skull mask.
                                       Page 5 of 13                  .



           Case 7:20-cr-00167-M Document 16 Filed 11/18/20 Page 5 of 13
the image of a black sun. The last frame of the video displays the statement, "Come

home white man."

      16. By August 2020, DUNCAN and KRYSCUK were ·praising the efforts of

COLLINS, who they claimed had "sacrificed the most for the cause," had gotten them

"tons of gear and training," and had added three Marines to the group.

      17. DUNCAN moved f:i;-om San Antonio to Boise on or about S~:ptember 8,

2020; COLLINS was released from the Marines on September 20, 2020, and moved

to Boise o.n or about October 4, 2020.    In October 2020, the group had in their

possessions
  . . .     at least three 9mm pistols with suppressor, at least
                                                            \
                                                                 4 lightweight,
                                                                         .


semiautomatic rifles with a detachable magazine based on the ArmaLite AR-15

design, some with su~pressors, and at least two short barrel rifles, all manufactured

byKRYSCUK.

      18, -13y early 2020, defendant JUSTIN WADE HERMANSON,.also known as

"Sandman," possessed videos, images, and communications consistent with the

ideology expressed by KRYSCUK and Atomwaffen, and was communicating directly

with KRYSCUK to coordinate some of the above mentioned firearm and silencer

purchases. He paid KRYSCUK for a pistol with a suppressor in April 2020, which

KRYSCUK manufactured and shipped from Boise, Idaho to North Carolina. He also

began coordinating others' p~yments to KRYSCUK, by receiving' the funds. and

passing them on to KRYSCUK.         HERMANSON also communicated with· other
                                                            '\

Marines from the Camp Lejeune, NC, area, regarding coordinating additional illegal

firearms sales through KRYSCUK and building fully automatic rifles. Additionally;
                                 Page 6 of 13



        Case 7:20-cr-00167-M Document 16 Filed 11/18/20 Page 6 of 13
KRYSCUK has viewed manuals regarding car bombs, remote detonators, and other

explosives.    In October 2020, HERMANSON recruited and assisted in vetting at

least one other person into the group.

                                   COUNT ONE

      19.     Paragraphs 1 through 18. are realleged and incorporated as if stated

herein.

      20. Beginning in or about June 2019, and continuing to the present, in the

Eastern District of North Carolina and elsewhere, the defendants, LIAM

MONTGOMERY COLLINS, also known as "Disciple," PAUL JAMES KRYSCUK,

also known as "Deacon," JORDAN DUNCAN, also known as "Soldier" and JUSTIN

• WADE HERMANSON, also known as "Sandman" did conspire, confederate, and

agree with others, both known and unknown to the Grand Jury, to commit offenses

. against the United_ States in violation of Title 18, United States Code, Section

922(a)(l)(A), by willfully and knowingly without licensure, engage in the business of ·

manufacturing firearms and in the cours~- of such business to ship, transport, and

receive any firearm in interstate commerce.

                        PURPOSE OF THE CONSPIRACY

      21.     It was the purpose of the conspiracy for the defendants, LIAM

MONTGOMERY COLLINS, also known as "Disciple," PAUL JAMES KRYSCUK,

also known as "Deacon," JORDAN DUNCAN, also known as "Soldier" and JUSTIN

WADE HERMANSON, also known as "Sandman," to regularly and repetitively

manufacture and transport firearms and firearm parts, to include suppressors, in a
                                  Page 7 of13



          Case 7:20-cr-00167-M Document 16 Filed 11/18/20 Page 7 of 13
manner that the government would not know the recipients had them, for criminal

purposes, to wit, with the intention they be used unlawfully in furtherance of a civil

disorder, in violation of 18 U.S.C. § 231(a)(2).

                                    OVERT ACTS

      22. In furtherance of the conspiracy and to achieve the object thereof, at least

one of the following overt acts, among others, were committed by the defendants

LIAM MONTGOMERY COLLINS, also known as "Disciple," PAUL JAMES

KRYSCUK, also known as "Deacon," JORDAN DUNCAN, also known as "Soldier,"

and JUSTIN WADE. HERMANSON, also known as "Sandman," in the Eastern

District of North Carolina, between May 2019 and the present:

      A. On April 24, 2020, defendant LIAM .MONTGOMERY COLLINS, also

          known as "Disciple," accepted $1,500 transferred to his personal bank

          account in payment for a 9mm pistol and suppressor which were to be

          manufactured by defendant KRYSCUK.

      B. COLLINS then transferred the majority of the $1,500 to the bank account

          of JUSTIN WADE HERMANSON, also known as "Sandman", who then

          sent the money by Venmo to KRYSCUK.

      C. Defendant PAUL JAMES KRYSCUK, also known as "Deacon," having

          received the monies in his VENMO account, transferred them to his

          personal bank account,. and made purchases from vendors known to sell

          solvent traps.

      D. Using the alias "Shaun Corcoran," defendant PAUL JAMES KRYSCUK;
                                 Page8 of 13



         Case 7:20-cr-00167-M Document 16 Filed 11/18/20 Page 8 of 13
   also known as "Deacon," then mailed the resulting pistol and suppressor

   from Idaho to Jacksonville, North Carolina, on or about June 17, 2020.

E. On July 19, 2020, KRYSCUK told DUNCAN in an lnstagram chat to "follow

   BLM Boise," [referencing Black Lives Matter, an organization that

   describes itself as having been formed to eradicate white supremacy] as

   KRYSCUK was getting a lot of intel from their social media.

F. On July 21, 2020, BLM held a rally on the campus of Boise State University.

   Surveillance confirmed KRYSCUK was present within eyesight of the rally,

   first sitting in his parked vehicle then driving around the rally area slowly,

   for a total of approximately 20 minutes.

G. On August 18, 2020, BLM held a rally/protest as a park in downtown Boise.

   The rally had a last minute location change to the park, to avoid anti-

   protestors.   KRYSCUK's vehicle was in the area of the rally for 5 to 6

   minutes.·

H. On October 1, 2020, KRYSCUK and DUNCAN discussed their group, which

   they call the "BSN," shooting protestors in Boise:

      1) DUNCAN- "How the BSNs finna be pulling up to chipotle after
         hitting legs"
      2) KRYSCUK- "Death squad''
      3) KRYSCUK - "Assassins creed hoodies and suppressed 22 pistols"
      4) DUNCAN - "People freaking tf out"
      5) KRYSCUK - "About what"
      6) DUNCAN - "'The end of democracy"'
      7) KRYSCUK - "One can hope"

All in violation of Title 18, United States Code, Section 371.

                               Page 9 of 13



  Case 7:20-cr-00167-M Document 16 Filed 11/18/20 Page 9 of 13
                                    COUNT TWO

       23.   On or about June 9, 2020, in the Eastern District of North Carolina and

elsewhere, the defendants, JUSTIN WADE HERMANSON, also known as

"Sandman" and PAUL JAMES KRYSCUK, also known as ."Deacon," aiding and

abetting one another, not being a licensed importer, manufacturer, dealer, and

collector of firearms, within the meaning of Chapter 44, Title 18, United States Code,

willfully _did transport into the State of North Carolina, where JUSTN WADE

HERMANSON, also known as "Sandman," then resided, a 9mm pistol with

suppressor, said firearm having been manufactured and obtained by the defendants

outside the State of North Carolina, in violation of Title 18, United States Code,

Sections 922(a)(3) and 924(a)(l)(D) and 2.

                                   COUNT THREE

       24. On or about June 17, 2020, in the Eastern District of North Carolina and

elsewhere, the defendants, LIAM MONTGOMERY COLLINS, also known as

"Disciple" and PAUL JAMES KRYSCUK, also known as "Deacon," aiding and

abetting one another, not being a licensed importer, manufacturer, dealer, and

collector of firearms, within the meaning of Chapter 44, Title 18, United States Code,

willfully    did transport into    the   State   of North    Carolina,   where    LIAM

MONTGOMERY COLLINS, also known as "Disciple," then resided, a 9mm pistol

with suppressor, said firearm having been manufactured and obtained by the

defendants outside the State of North Carolina, in violation of T:i.tle 18, United States
                                    Page 10 of 13



        Case 7:20-cr-00167-M Document 16 Filed 11/18/20 Page 10 of 13
Code, Sections 922(a)(3) and 924(a)(l)(D) and 2.



                                            COUNT FOUR

       25.   On or about September 11, 2020, in the Eastern District of North Carolina

and elsewhere, the defendants, LIAM MONTGOMERY COLLINS, also known as

"Disciple," and PAUL JAMES KRYSCUK, also known as "Deacon," aiding and

abetting one another, knowingly transported and delivered from Idaho to

Pennsylvania, in interstate commerce, a firearm, specifically, a weapon made from a rifle

modified to have an overall length ofless than 26 inches or a barrel or barrels ofless than 16 inches

in length, not registered as required by Chapter 53 of Title 26, in violation of Title 26,

United States Code, Sections 5841, 5861(:i), and 5871, and 18 U.S.C. § 2 ..




              [REMAINDER
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                                           Page 11 of13



         Case 7:20-cr-00167-M Document 16 Filed 11/18/20 Page 11 of 13
                                              FORFEITURE NOTICE

                . Notice is hereby given that all right, title and interest in the property described
                           i


           herein is subject to forfeiture.

                  Upon conviction of any violation of the Gun Control Act, the National Firearms

           Act, or any other offense charged herein that involved or was perpetrated in whole or

    ,,.-   in part by the use of firearms or ammunition, the defendant shall forfeit to the United

           States, pursuant to 18 U.S.C. § 924(d) and/or 26 U.S.C. § 5872, as made applicable by

           28. U.S'.C. § 2461(c), any and all firearms and ammunition that were involved in or

           used in a knowing ·.or willful commission of the offense, or, pursuant to 18 U.S.C.

           § 3665, that were found in the possession or under the immediate control of the

           defendant at the time of arrest.

                  The forfeitable property includes, but is not limited to, the following:

\                 Personal Property:

                  a) On~ 9mm pistol and suppressor, not serialized, seized on June 18, 2020

                     from JUSTIN WADE HERMANSON, also known as "Sandman" and any

                     and all associated ammunition.

                If any of the. above-described forfeitable property, as a result of any act or • .
                                                      "         .


           obi.ission of a defendant: cannot be locate,d upon the e:Xer"Cise of due diligence; has

           been transferred or sold to, or deposited with,.a third party; has been placed beyond

           the jurisdiction of the court; has been substantially diminished in value; or has been

           commingled with other property which cannot be divided without difficulty; it is the

           intent of the United States, pursua_nt to Title 21, United States Code, Section 853(p),
                                                Page 12 ofl3



                   Case 7:20-cr-00167-M Document 16 Filed 11/18/20 Page 12 of 13
to seek forfeiture of any other property of said defendant up to the value of the

forfeitable property described above.




                                             A TRUE BILL




                                             DA


ROBERT J. HIGDON, JR.
United States Attorney


  6/Lv0/Ut4- 6 .      ;lo& t____
BY: BARBARA D. KOCHER
Assistant United States Attorney




                                    Page 13 of13



        Case 7:20-cr-00167-M Document 16 Filed 11/18/20 Page 13 of 13
